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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

    TWINSTRAND BIOSCIENCES, INC. &
    UNIVERSITY OF WASHINGTON,

                        Plaintiffs,

                   v.                                        C.A. No. 21-1126-GBW-SRF
    GUARDANT HEALTH, INC.,
                        Defendant.

                                           VERDICT FORM

          Instructions: When answering the following questions and completing this Verdict

   Form, please follow the directions provided and the Jury Instructions that you have been given.

   Your answer to each question must be unanimous. Some of the questions contain legal terms that

   are defined and explained in the Jury Instructions. Please refer to the Jury Instructions if you are

   unsure about the meaning or usage of any legal term that appears in the questions below.

          As used herein:

          1.      “Plaintiffs” refers to Plaintiff University of Washington (“UW”) and Plaintiff
                  TwinStrand Biosciences, Inc. (“TwinStrand”), collectively.

          2.      “Guardant” refers to Defendant Guardant Health, Inc.

          3.      “UW and TwinStrand’s Asserted Patents” refers to U.S. Patent Nos. 10,287,631
                  and 10,760,127.

          4.      The “’631 patent” refers to U.S. Patent No. 10,287,631.

          5.      The “’127 patent” refers to U.S. Patent No. 10,760,127.
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                                     QUESTIONS AND ANSWERS

         We, the jury, unanimously find as follows.

   1. Infringement of UW and TwinStrand’s Asserted Patents

      1.1. Infringement

         1.1.1. Have UW and TwinStrand proven by a preponderance of the evidence that
                Guardant infringed any of the following claims of the ’631 patent? (A “Yes”
                answer is a finding for UW and TwinStrand; a “No” answer is a finding for
                Guardant.)

                          For each asserted claim, please check “Yes” or “No” below.

                                        Yes (UW and TwinStrand)            No (Guardant)

                          Claim 1              ____________                ____________


         1.1.2. Have UW and TwinStrand proven by a preponderance of the evidence that
                Guardant infringed any of the following claims of the ’127 patent? (A “Yes”
                answer is a finding for UW and TwinStrand; a “No” answer is a finding for
                Guardant.)

                          For each asserted claim, please check “Yes” or “No” below.

                                        Yes (UW and TwinStrand)            No (Guardant)

                          Claim 24             ____________                ____________

                          Claim 30             ____________                ____________




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   2. Willfulness with Respect to UW and TwinStrand’s Asserted Patents

       You are only to answer question 2.1.1 below if you have found one or more of the asserted
   claims of UW and TwinStrand’s Asserted Patents infringed in section 1 above.

          2.1.1. Have UW and TwinStrand proven by a preponderance of the evidence that
                 Guardant’s infringement of any asserted claim was willful? (A “Yes” answer is a
                 finding for UW and TwinStrand; a “No” answer is a finding for Guardant.)

                         Yes (UW and TwinStrand)              No (Guardant)

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   3. Damages with Respect to UW and TwinStrand’s Asserted Patents

       You are only to answer question 3.1.1 below if you have found one or more of the asserted
   claims of UW and TwinStrand’s Asserted Patents infringed in section 1 above.

          3.1.1. What is the total amount you determine to be a reasonable royalty to compensate
                 the University of Washington and TwinStrand for Guardant’s infringement of the
                 asserted patents?

                         $ ____________




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                                       UNANIMOUS VERDICT

          Upon reaching a unanimous verdict on each question above, each juror must sign below.

          We, the jury, unanimously agree to the answers to the above questions and return them

   under the instructions of this Court as our verdict in this case.



          _____________________                                   _____________________
          Jury Foreperson                                         Juror



          _____________________                                   _____________________
          Juror                                                   Juror



          _____________________                                   _____________________
          Juror                                                   Juror



          _____________________                                   _____________________
          Juror                                                   Juror




   Dated: __________________________




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